                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                  DOCKET NO. 3:03CR181-MU


UNITED STATES OF AMERICA,                        )
                                                 )            FIRST FINAL ORDER AND
                 v.                              )           JUDGMENT OF FORFEITURE
                                                 )
ROBERT ANTHONY THOMPSON                          )

        On June 13, 2005, this Court entered a preliminary order of forfeiture pursuant to 21 U.S.C.

§ 853 and Fed. R. Crim. P. 32(d)(2), based upon the defendant’s conviction on Counts One and Eight

in the bill of indictment. On August 25, September 1, and September 8, 2005, the United States

published in the The Kings Mountain Herald, a newspaper of general circulation, notice of this

forfeiture and of the intent of the government to dispose of the forfeited property in accordance with

the law, and further notifying all third parties of their right to petition the Court within thirty days

for a hearing to adjudicate the validity of any alleged legal interest in the property. It appears from

the record that no such petitions have been filed.

        Based on the record in this case, including the affidavit submitted with the government’s

supplemental motion for a preliminary order of forfeiture, the Court finds, in accordance with Fed.

R. Crim. P. 32.2(c)(2) and (e)(1)(B), that the defendant had an interest in the property listed below

that is forfeitable under 21 U.S.C. §853(a). The preliminary order of forfeiture has therefore become

final as to this property, and it is subject to forfeiture pursuant to Rule 32.2(c)(2) and Rule

32.2(e)(1)(B).

        It is therefore ORDERED, ADJUDGED AND DECREED that all right, title, and interest in

the following property is hereby forfeited to the United States for disposition according to law:




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          1. All currency and monetary instruments which were received during, involved in
  or used or intended to be used to facilitate the crimes alleged in the bill of indictment,
  consisting of total drug proceeds in the amount of $2.6 million, including $17,160 in United
  States currency seized on or about November 10, 2003.

         2. Real properties located at 3201 I Compact School Road and 113 Springwood
  Road in Kings Mountain, Cleveland County, North Carolina, as described in the Cleveland
  County Public Registry in deeds recorded at Deed Book 1266, Page 649, and Deed Book
  1352, Page 700, respectively.

         3. The following vehicles and conveyances:

                 a. 1990 Trailmobile Trailer;

                 b. 1990 Mono Trailer;

                 c. 1994 Volvo Tractor (also identified as a 1993 GMC tractor);

                 d. 1996 Volvo Tractor;

                 e. 1997 International Truck/Trailer;

                 f. 2002 Haulmark Trailer;

                 g. 1998 Freightliner Tractor;

                 h. 1988 Ford F350 XLT Lariat Wrecker;

                 i. 2003 Bentley Pontoon Boat with Hustler Trailer;

                 j. 1992 Fleetwood Bounder Motorhome;

                 k. 1989 Fleetwood Bounder Motorhome;

                 l. Black Chevrolet Camaro Drag Race Car;

                 m. Silver Ford Mustang Drag Race Car;

                 n. 2001 Ford Mustang (modified for drag racing);

                 o. V8 drag racing engine;

                 p. Bobcat 873;


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              q. Great Bend NT 204 Tractor.




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                       Signed: October 28, 2005




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